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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                      Criminal No. 22-MJ-362 (JFD)

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )
                                           )
            v.                             )
                                                 MOTION TO DISMISS
                                           )
DESMOND DURELLE GRAHAM,                    )
                                           )
                  Defendant.               )


      The United States of America, by and through its attorneys, Andrew M.

Luger, United States Attorney for the District of Minnesota, and Thomas

Calhoun-Lopez, Assistant United States Attorney, hereby moves the Court for

an order dismissing the Complaint (Document No. 1) against the above-named

Defendant, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure.

      The Defendant remains charged in Hennepin County District Court for

the same underlying conduct as the federal complaint in this case.        After

consultation with the Hennepin County Attorney’s Office, the United States

believes that the interests of justice would be best served by resolution in the

charges in Hennepin County District Court.       The United States therefore

requests that the complaint be dismissed, so that the Defendant can address

his charges in state court.
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Dated: May 31, 2022

                                       Respectfully Submitted,

                                       ANDREW M. LUGER
                                       United States Attorney



                                       s/ Thomas Calhoun-Lopez
                                       BY: THOMAS CALHOUN-LOPEZ
                                       Assistant U.S. Attorney




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